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                                                                               Projects

                                                                               Matt Mullenweg, the director of the WordPress Foundation, has been
                                                                               directly involved in the creation of, or coordination of volunteers
                                                                               around, a number of WordPress projects that espouse the core
                                                                               philosophy:

                                                                            * WordPress, freely available GPL blogging software with about
                                                                              346,509 lines of code representing about 91 person-years of
                                                                              development.
                                                                            * WordPress is available in over 200 languages and the latest version
                                                                              has been downloaded over 77 million times.
                                                                            * WordPress Plugins, a repository of over 54,000 freely available
                                                                              plugins representing about as many volunteers. These plugins have
                                                                              received over 859 million downloads that we know about.
                                                                            * WordPress Themes, over 3,048 free GPL-licensed design and themes
                                                                              for WordPress that have received over 128 million downloads.
                                                                            * Currently there are over 700 WordPress meetup groups and in 2018
                                                                              over 140 WordCamps were held in countries all over the world.
                                                                            * bbPress, open source forum software that works right inside
                                                                              WordPress.
                                                                            * BuddyPress, a project that allows anyone to create a social network
                                                                              on purely Free Software.

                                                                               The source code for all of the above is freely available for any use to
                                                                               anyone in the world via the links above.




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